     Case 5:20-cv-01460-JGB-KK Document 80 Filed 12/06/21 Page 1 of 3 Page ID #:910

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                         December 06, 2021


       Nos.:             21-56308, 21-56309 Cross Appeals
       D.C. No.:         5:20-cv-01460-JGB-KK
       Short Title:      Cinnamon Mills v. Target Corporation


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.

       Payment of the $505 docketing and filing fees is past due. Failure to correct this
       deficiency may result in the dismissal of this case for failure to prosecute. See 9th
       Cir. R. 42-1. The fee is payable to the District Court.
Case 5:20-cv-01460-JGB-KK Document 80 Filed 12/06/21 Page 2 of 3 Page ID #:911




                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     DEC 06 2021
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




  CINNAMON MILLS, individually on a             No. 21-56308
  representative basis, and on behalf of all
  others similarly situated,
                                                D.C. No. 5:20-cv-01460-JGB-KK
               Plaintiff - Appellee,            U.S. District Court for Central
                                                California, Riverside
    v.
                                                TIME SCHEDULE ORDER
  TARGET CORPORATION,

               Defendant - Appellant.




  CINNAMON MILLS, individually on a             No. 21-56309
  representative basis, and on behalf of all
  others similarly situated,
                                                D.C. No. 5:20-cv-01460-JGB-KK
               Plaintiff - Appellant,           U.S. District Court for Central
                                                California, Riverside
    v.

  TARGET CORPORATION,

               Defendant - Appellee.



 This order vacates all brief due dates set by previously issued time schedule orders.
 The parties shall meet the following cross appeal time schedule.
Case 5:20-cv-01460-JGB-KK Document 80 Filed 12/06/21 Page 3 of 3 Page ID #:912

 Mon., December 13, 2021 Appellants' Mediation Questionnaire due. If your
                         registration for Appellate CM/ECF is confirmed after
                         this date, the Mediation Questionnaire is due within
                         one day of receiving the email from PACER
                         confirming your registration.
 Wed., March 16, 2022        The party(s) who filed the first appeal shall file and
                             serve the first brief on cross-appeal pursuant to
                             FRAP 28.1.
 Fri., April 15, 2022        The party(s) who filed the second appeal shall file
                             and serve the second brief on cross-appeal pursuant
                             to FRAP 28.1.
 Mon., May 16, 2022          The third brief on cross-appeal shall be filed and
                             served pursuant to FRAP 28.1.

 The optional cross appeal reply brief shall be filed and served within 21 days
 of service of the third brief on cross appeal, pursuant to FRAP 28.1.

 Failure of the appellants to comply with the Time Schedule Order will result
 in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT

                                              By: Howard Hom
                                              Deputy Clerk
                                              Ninth Circuit Rule 27-7
